 Case 2:20-cv-11107-FMO-GJS Document 64 Filed 01/14/22 Page 1 of 6 Page ID #:1985



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10

11   Attorneys for Plaintiff,
     JAMES SHAYLER
12

13
                          UNITED STATES DISTRICT COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
15

16

17   JAMES SHAYLER, an individual,           Case No.: 2:20-cv-11107-FMO-GJS
18                Plaintiff,
                                             Hon. Fernando M. Olguin
19         v.
20   HB MAT PROPERTIES, a California        PLAINTIFF’S WITNESS LIST
21   limited liability company; FUSION
     SUSHI, a business of unknown form; and Pretrial Conference: February 4, 2022
22
     DOES 1-10,                             Time:                10:00 a.m.
23
                   Defendants.
24                                          Complaint Filed:     December 7, 2020
                                            Trial Date:           February 22, 2022
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                                    1           Case No. 2:20-cv-11107-FMO-GJS
     __________________________________________________________________
                                PLAINTIFF’S WITNESS LIST
 Case 2:20-cv-11107-FMO-GJS Document 64 Filed 01/14/22 Page 2 of 6 Page ID #:1986



 1         Pursuant to Local Rule 16-5 and F.R.Civ.P. 26(a)(3)(A), Plaintiff James
 2
     Shayler submits his Witness List. All testimony will be in person unless otherwise
 3

 4   indicated.
 5

 6                                                           ADDRESS AND
        NAME         EXPECTED TESTIMONY
                                                          TELEPHONE NUMBER
 7

 8      James      Mr. Shayler will testify about:         c/o The Law Office of
 9
        Shayler    (1) his disability; (2) the barriers     Hakimi & Shahriari
10

11
                   he encountered at Defendant’s              1800 Vine Street

12                 property (Fusion Sushi); (3)           Los Angeles, CA 90028
13
                   how the barriers at Fusion Sushi         Tel: (888) 635-2250
14

15                 denied him full and equal
16
                   access; and (4) his desire to
17

18
                   return to the Fusion Sushi to

19                 patronize it.
20
         Marc      Mr. Friedlander will testify            15701 Sherman Way
21

22    Friedlander about his inspection of the              Van Nuys, CA 91406
23
                   subject property and the
24

25                 photographs he took on August            Tel: (323) 477-5901
26                 30, 2021.
27

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                                    2           Case No. 2:20-cv-11107-FMO-GJS
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                                   PLAINTIFF’S WITNESS LIST
 Case 2:20-cv-11107-FMO-GJS Document 64 Filed 01/14/22 Page 3 of 6 Page ID #:1987



 1      John       Mr. Battista will testify about       ADA Compliance Masters,
 2
       Battista    his inspection of the subject                    Inc.
 3

 4                 property on April 1, 2021 and            2660 Rudolph Drive
 5
                   his reports regarding same.             Simi Valley, CA 93065
 6

 7                                                          Tel: (818) 470-4344
 8     Hamid       Dr. Mir will testify about his           3501 Jamoree Road
 9
      Mir, M.D.    examination of Plaintiff on           Newport Beach, CA 92660
10

11                 October 8, 2021 and related              Tel: (949) 988-7848
12
                   report.
13

14     Thomas      Dr. McCloy is Plaintiff’s             1045 Atlantic Ave, #1019,
15
      McCloy,      treating primary care physician,       Long Beach, CA 90813
16
        M.D.       and will testify regarding his           Tel: (562) 437-5213
17

18                 various health conditions.
19
       Parham      Dr. Yashar is Plaintiff’s treating      120 S Spalding Drive,
20

21     Yashar,     neurologist, and he will testify              Suite 305,
22
        M.D.       about Plaintiff’s back and             Beverly Hills, CA 90212
23
                   neurological conditions.                 Tel: (424) 209-2669
24

25    John Plut,   Dr. Plut is one of Plaintiff’s       3475 Torrance Blvd., Suite F,
26
        M.D.       treating physicians, and he will         Torrance, CA 90503
27

28                 testify about Plaintiff’s knee           Tel: (310) 316-6600

                                    3           Case No. 2:20-cv-11107-FMO-GJS
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                                PLAINTIFF’S WITNESS LIST
 Case 2:20-cv-11107-FMO-GJS Document 64 Filed 01/14/22 Page 4 of 6 Page ID #:1988



 1                and back pain.
 2

 3
      Henry Su,   Dr. Su is one of Plaintiff’s       1043 Elm Avenue, Suite 301,
 4

 5      M.D.      treating physicians, and he will      Long Beach, CA 90813
 6
                  testify about Plaintiff’s foot         Tel: (562) 684-2560
 7

 8
                  conditions.

 9   Dr. Charles Dr. Ananian is one of Plaintiff’s           Beverly Hospital,
10
      Ananian     treating physicians, and he will      309 West Beverly Blvd.
11

12                testify about his examination(s)      Montebello, CA 90640
13
                  of Plaintiff.
14

15
       Nasser     Mr. Matloob will be called as an           c/o James S. Link

16    Matloob     adverse witness on direct. He        Counselor & Advocate At
17
                  will testify about ownership of                  Law
18

19                the property and violations on      215 N. Marengo, 3rd Floor
20
                  the property.                          Pasadena, CA 91101
21

22
                                                         Tel: (626) 793-9570

23    Henry N.    Mr. Jannol will be called as an            c/o James S. Link
24
       Jannol     adverse witness on direct. He        Counselor & Advocate At
25

26                will testify about ownership of                  Law
27
                  the property and violations on      215 N. Marengo, 3rd Floor
28

                                    4           Case No. 2:20-cv-11107-FMO-GJS
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                                  PLAINTIFF’S WITNESS LIST
 Case 2:20-cv-11107-FMO-GJS Document 64 Filed 01/14/22 Page 5 of 6 Page ID #:1989



 1               the property.                       Pasadena, CA 91101
 2
                                                      Tel: (626) 793-9570
 3

 4   James Link Mr. Link will be called as a             James S. Link
 5
                 witness regarding The ADA         Counselor & Advocate At
 6

 7               Project.                                    Law
 8                                                 215 N. Marengo, 3rd Floor
 9
                                                     Pasadena, CA 91101
10

11                                                    Tel: (626) 793-9570
12
       Stephen   Mr. Abraham will be called as a   Law Offices of Stephen E.
13

14    Abraham    witness regarding The ADA                 Abraham
15
                 Project.                             1592 Pegasus Street
16
                                                   Newport Beach, CA 92660
17

18                                                    Tel: (949) 878-8608
19
       Melissa   Ms. Daugherty will be called as   Lewis Brisbois Bisgaard &
20

21   Daugherty   a witness regarding The ADA              Smith LLP
22
                 Project.                          633 West 5th Street, Suite
23
                                                             4000
24

25                                                  Los Angeles, CA 90071
26

27

28                                                   Tel: (213) 250-1800

                                    5           Case No. 2:20-cv-11107-FMO-GJS
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                             PLAINTIFF’S WITNESS LIST
 Case 2:20-cv-11107-FMO-GJS Document 64 Filed 01/14/22 Page 6 of 6 Page ID #:1990



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 2
     Dated: January 14, 2022        THE LAW OFFICE OF HAKIMI & SHAHRIARI
 3

 4

 5
                                    By:    /s/ Anoush Hakimi
 6
                                          Anoush Hakimi, Esq.
 7                                        Attorneys for Plaintiff, James Shayler
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                                    6           Case No. 2:20-cv-11107-FMO-GJS
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                               PLAINTIFF’S WITNESS LIST
